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 7                            UNITED STATES DISTRICT COURT
 8                          SOUTHERN DISTRICT OF CALIFORNIA
 9
10    KLARA GIANNA GALLUSZ,                               Case No.: 25-CV-885 JLS (BLM)
11                                      Plaintiff,
                                                          ORDER:
12    v.
                                                          (1) DENYING PLAINTIFF’S
13    LLP MORTGAGE, INC. F/K/A LLP
                                                          APPLICATION FOR TEMPORARY
      MORTGAGE LTD,
14                                                        RESTRAINING ORDER, AND
                                      Defendant.
15
                                                          (2) LIFTING ADMINISTRATIVE
16                                                        STAY
17
                                                          (ECF No. 3)
18
19          Presently before the Court is Plaintiff Klara Gianna Gallusz’s (“Plaintiff”)
20    Emergency Ex Parte Application for Temporary Restraining Order (“Appl.,” ECF No. 3),
21    along with an attached Memorandum of Points and Authorities (“Mem.,” ECF No. 3-1)
22    and Declaration of Plaintiff in support of her Application (“Gallusz Decl.,” ECF No. 3-2).
23    Plaintiff seeks immediate relief in the form of a temporary restraining order (“TRO”)
24    enjoining Defendant LLP Mortgage, Inc. f/k/a LLP Mortgage LTD (“Defendant”) from
25    conducting a non-judicial foreclosure sale of her home, which was—when she filed her
26    TRO Application—scheduled for the next day, April 16, 2025. Appl. at 1.
27          On April 15, 2025, the Court issued an administrative stay of the April 16, 2025
28    Trustee Sale and directed Defendant to respond to Plaintiff’s TRO Application by

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 1    5:00 p.m. on April 17, 2025. See ECF No. 6 (“Order”). The Court also ordered Defendant
 2    to serve a copy of its Order on Plaintiff, as well as any opposition it filed, and permitted
 3    Plaintiff to file a reply to Defendant’s opposition by 5:00 p.m. on April 18, 2025. Id.
 4          Defendant subsequently filed its Opposition (“Opp’n,” ECF No. 8), and Declaration
 5    of Melissa Sassine in support of its Opposition (“Sassine Decl.,” ECF No. 8-2). Plaintiff
 6    then filed her Reply (“Reply,” ECF No. 10), followed by a Supplemental Declaration in
 7    support of her Application (“Suppl. Gallusz Decl.,” ECF No. 11).
 8          After due consideration and for the reasons stated below, the Court DENIES
 9    Plaintiff’s TRO Application.
10                                         BACKGROUND
11          On April 10, 2025, Plaintiff Klara Gianna Gallusz, appearing pro se, filed a
12    Complaint titled “Verified Petition for Declaratory and Injunctive Relief: Bill in Equity Ex
13    Parte Hearing for Declaratory Judgment and Injunctive Relief Due to Lack of Article III
14    Standing” in the Superior Court of California for the County of San Diego. Exhibit A to
15    Defendant’s Notice of Removal, ECF No. 1-3 (“Compl.”). In her Complaint, Plaintiff
16    indicates the real property located at 3050 Rue D Orleans, Unit #410, San Diego, California
17    92110 (the “Property”), is “the subject of a threatened non-judicial foreclosure sale
18    scheduled for April 16, 2025, at 10:30 AM, to take place at the entrance of East County
19    Regional Center, 250 E. Main Street, El Cajon, CA 92020.” Compl. at 2. Plaintiff seeks
20    declaratory and injunctive relief, including “a determination of legal rights, and to prevent
21    irreparable harm from unlawful foreclosure.” Id.
22          On April 14, 2025, Defendant removed this case to this Court pursuant to 28 U.S.C.
23    § 1441 on the basis of diversity jurisdiction. See ECF No. 1. Plaintiff then filed the instant
24    Application for Temporary Restraining Order.
25                                      LEGAL STANDARD
26          Federal Rule of Civil Procedure 65(b) governs the issuance of a TRO. The standard
27    for a TRO is identical to the standard for a preliminary injunction. See Stuhlbarg Int’l
28    Sales Co. v. John D. Brush & Co., 240 F.3d 832, 839 n.7 (9th Cir. 2001). To obtain either

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 1    a TRO or a preliminary injunction, the moving party must show: (1) a likelihood of success
 2    on the merits; (2) a likelihood of irreparable harm to the moving party in the absence of
 3    preliminary relief; (3) that the balance of equities tips in favor of the moving party; and
 4    (4) that an injunction is in the public interest. Winter v. Nat. Res. Def. Council, Inc., 555
 5    U.S. 7, 20 (2008).
 6          Although a plaintiff seeking a TRO or preliminary injunction must make a showing
 7    on each element, the Ninth Circuit employs a “version of the sliding scale” approach where
 8    “a stronger showing of one element may offset a weaker showing of another.” All. for the
 9    Wild Rockies v. Cottrell, 632 F.3d 1127, 1131–35 (9th Cir. 2011). Under this approach, a
10    court may issue a TRO or preliminary injunction where there are “serious questions going
11    to the merits and a balance of hardships that tips sharply towards the plaintiff . . . , so long
12    as the plaintiff also shows that there is a likelihood of irreparable injury and that the
13    injunction is in the public interest.” Id. at 1135 (internal quotation marks omitted).
14    Generally, a TRO is considered “an extraordinary remedy that may only be awarded upon
15    a clear showing that the plaintiff is entitled to such relief.” Winter, 555 U.S. at 22. The
16    moving party has the burden of persuasion. Hill v. McDonough, 547 U.S. 573, 584 (2006).
17                                             ANALYSIS
18          The crux of Plaintiff’s lawsuit is based on her theory that Defendant lacks “Article
19    III standing . . . to enforce any rights” related to the mortgage loan concerning her purported
20    real property at 350 Rue D Orleans, Unit #410, San Diego, California 92110. Compl. at 2.
21    She alleges Defendant failed to satisfy Article III standing because it has not produced “the
22    original wet-ink promissory note and has refused to allow inspection or provide a certified
23    copy.” Id. at 4. Additionally, she argues Defendant has “failed to provide a complete,
24    valid, and properly recorded chain of assignments of both the Note and the Deed of Trust.”
25    Id. She asserts causes of action for “Declaratory Relief” and “Injunctive Relief.” Id. at 6.
26          In her Memorandum of Points and Authorities supporting her TRO Application,
27    Plaintiff asserts there is a “strong likelihood of prevailing based on constitutional violations
28    including due process, lack of lawful debt validation, and misapplication of foreclosure

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 1    procedures under California and federal protections.” Mem. at 2. Defendant, in turn,
 2    argues that Plaintiff is unlikely to succeed on the merits as her claims will fail as a matter
 3    of law.1 Opp’n at 7. Plaintiff’s Reply reiterates that Defendant has not “produced the
 4    original, wet-ink promissory note as required by Evidence 1002 . . .[,] proven possession
 5    of the note or submitted a valid chain of endorsements under UCC section 3-301 . . .[,]
 6    overcome the constitutional threshold required for standing under Article III . . . [, nor]
 7    rebutted Plaintiff’s core claims, which are grounded in the United States Constitution, the
 8    Uniform Commercial Code, and California foreclosure law.” Reply at 14.
 9           The Court finds Plaintiff has not shown a “likelihood of success on the merits.”
10    Winter, 555 U.S. at 20. First, Plaintiff is unlikely to succeed on either her injunctive relief
11    or declaratory relief causes of action because declaratory relief and injunctive relief are
12    remedies rather than standalone claims.                   See Kimball v. Flagstar Bank F.S.B.,
13    881 F. Supp. 2d 1209, 1219–20 (S.D. Cal. 2012) (dismissing with prejudice claim for
14    declaratory relief because “[d]eclaratory relief is not an independent cause of action, but
15    instead a form of equitable relief” (citation omitted)); Jones v. ABN AMRO Mortg. Grp.,
16    Inc., 551 F. Supp. 2d 400, 406 (E.D. Pa. 2008) (similar), aff’d, 606 F.3d 119 (3d Cir. 2010);
17    Mehta v. Wells Fargo Bank, N.A., 737 F. Supp. 2d 1185, 1205 (S.D. Cal. 2010) (“Injunctive
18    relief, like damages, is a remedy requested by the parties, not a separate cause of action.”
19    (quoting Cox Commc’n PCS, L.P. v. City of San Marcos, 204 F. Supp. 2d 1272, 1283 (S.D.
20    Cal. 2002)).
21           Further, Defendant does not need to have Article III standing to non-judicially
22    foreclose as Article III applies to a plaintiff’s standing to bring a lawsuit. See e.g., Spokeo,
23
24    1
        Defendant also requests the Court take judicial notice of a deed of trust and five assignments of the deed
25    of trust, two grantor deeds, a substitution of trustee, notice of default, and notice of trustee’s sale, all
      recorded in the San Diego County Recorder’s Office. See Defendant’s Request for Judicial Notice
26    (“RJN”), ECF No. 8-11. Plaintiff appears to challenge this request. See Reply at 12 (“The [RJN] includes
      public records, but judicial notice only applies to the existence of recorded documents, not to the truth of
27    their contents [citation omitted]. Defendant cannot use the RJN to bypass authentication or hearsay
28    rules.”). In any event, as the Court does not rely on these documents in reaching its conclusion below, the
      Court DENIES AS MOOT Defendant’s Request for Judicial Notice (ECF No. 11).

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 1    Inc. v. Robins, 578 U.S. 330, 338 (2016).                   Moreover, “[u]niformly among courts,
 2    production of the note is not required to proceed in foreclosure and similarly no production
 3    of any chain of ownership is required.” Roque v. Suntrust Mortg., Inc., No. C-09-00040
 4    RMW, 2010 WL 546896, at *3 (N.D. Cal. Feb. 10, 2010) (citing Putkkuri v. Recontrust
 5    Co., No. 08cv1919 WQH (AJB), 2009 WL 32567, 2 (S.D. Cal., 2009)); see also Brewer v.
 6    Wells Fargo Bank, N.A., No. 16-cv-02664-HSG, 2017 WL 1315579, at *4 (N.D. Cal. Apr.
 7    6, 2017) (holding that since “the foreclosing beneficiary-creditor need not produce the
 8    promissory note or otherwise prove it holds the note to nonjudicially foreclose on a real
 9    property security . . . [i]t follows that . . . Plaintiff[] cannot prospectively enjoin a
10    foreclosure based on the purported violation of not producing the Note” (citations and
11    internal quotation marks omitted)).
12           And Plaintiff may not “simply seek[] the right to bring a lawsuit to find out whether”
13    Defendant has authority to proceed with the foreclosure. Gomes v. Countrywide Home
14    Loans, Inc., 121 Cal. Rptr. 3d 819, 825 (Cal. Ct. App. 2011) (emphasis in original).
15    Instead, Plaintiff must, at minimum, provide a “specific factual basis for alleging the
16    foreclosure was not initiated by the correct party.” Id. (emphasis in original); see also
17    Brewer, 2017 WL 1315579, at *3 (holding that courts “must consider whether Plaintiffs
18    have alleged a ‘specific factual basis’ for challenging Defendants’ authority to initiate the
19    foreclosure”). As Plaintiff has not provided such specific factual basis here, and instead
20    appears to seek the “determination of legal rights,” Compl. at 2, the Court finds Plaintiff
21    has not shown a likelihood of success on the merits. 2
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23    2
        The Court notes Defendant argues preemptive lawsuits challenging a beneficiary’s right to foreclose on
24    a deed are categorically banned under Jenkins v. JP Morgan Chase Bank, N.A., 156 Cal. Rptr. 3d 912,
      924–26 (Cal. Ct. App. 2013), disapproved on other grounds by Yanova v. New Century Mortgage Corp.,
25    366 P.3d 845, 858 (Cal. 2016)). Opp’n at 11. The court in Jenkins held that plaintiffs lack standing to
      bring preemptive claims against foreclosures “challeng[ing] the right, power, and authority of a
26    foreclosing ‘beneficiary’ or beneficiary’s ‘agent’ to initiate and pursue foreclosure.” 156 Cal. Rptr. 3d at
      924. However, other district courts, noting that the question of borrower standing in the pre-foreclosure
27    context has been thus far unanswered by the California Supreme Court, have held the California Supreme
28    Court will likely limit Jenkins to block only those pre-foreclosure challenges that “lack any ‘specific
      factual basis’ for bringing their claims.” Lundy v. Selene Fin., LP, No. 15-cv-05676-JST,

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 1           Next, Plaintiff appears to raise additional claims in her TRO Application that were
 2    not included in her Complaint. Her Complaint, as stated above, contains only causes of
 3    action for declaratory relief and injunctive relief, and challenges Defendant’s standing to
 4    foreclose if Defendant “fails to establish lawful enforcement rights.” Compl. at 6–7. But
 5    Plaintiff’s TRO Memorandum makes allegations against Defendant for failing to respond
 6    in good faith to “lawful tender,” that purportedly took place after the Complaint, failing to
 7    “verify” the debt, “constitutional violations including due process,” and “misapplication of
 8    foreclosure procedures under California and federal protections.” Mem. at 2. And
 9    Plaintiff’s TRO Application and attached supporting Declaration seem to suggest
10    violations of the Real Estate Settlement Procedures Act (“RESPA”) based on MGC
11    Mortgage Inc.—Defendant’s loan servicer’s—responses to Qualified Written Requests
12    (“QWRs”), as well as possible claim(s) involving “UCC presentment demands.” Gallusz
13    Decl. ¶¶ 5–6; see also Appl. at 2–3.
14           But Plaintiff does not demonstrate how she can prevail on any claim resting on these
15    allegations. For instance, she does not explain how her purported offer, made apparently
16    hours before filing her TRO Application, without providing any funds, and conditioned on
17    receiving the original promissory note for inspection, see Gallusz Decl. ¶ 7, constitutes
18    “lawful tender,” and under what authority this Court may grant her relief. Without further
19    elaboration on this claim, it is not clear to the Court there is a “sufficient nexus between
20    the claims raised in [the] motion for injunctive relief and the claims set forth in the
21    underlying complaint itself.” Bruno v. Potts, No. 17-CV-07225-YGR, 2018 WL 3207908,
22    at *2 (N.D. Cal. June 29, 2018); see also Pac. Radiation Oncology, LLC v. Queen's Med.
23    Ctr., 810 F.3d 631, 633 (9th Cir. 2015) (“When a plaintiff seeks injunctive relief based on
24    claims not pled in the complaint, the court does not have the authority to issue an
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      2016 WL 1059423, at *13 (N.D. Cal. Mar. 17, 2016); see Brewer, 2017 WL 1315579, at *3 (adopting
27    Lundy and collecting cases). For the purposes of this TRO Application, the Court need not reach this
28    debate, as even if the Court adopted the reasoning in Lundy, Plaintiff still fails to demonstrate a “specific
      factual basis” for challenging Defendant’s authority to foreclose.

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 1    injunction.”).
 2          Moreover, Plaintiff does not explain why she believes the debt was not “verified,”
 3    what foreclosure procedures were misapplied, nor how her constitutional rights were
 4    violated. And California federal courts do not apply the Uniform Commercial Code
 5    (“UCC”) to non-judicial foreclosures.              Caovilla v. Wells Fargo Bank, N.A.,
 6    No. 13–cv–1003 JSC, 2013 WL 2153855, at * 4 (N.D. Cal. May 16, 2013); see also
 7    Padayachi v. IndyMac Bank, No. C 09-5545 JF (PVT), 2010 WL 4367221, at *3 (N.D.
 8    Cal. Oct. 28, 2010) (“Although Article 3 of the UCC governs negotiable instruments, it
 9    does not apply to nonjudicial foreclosure under deeds of trust.”). Nor can Plaintiff’s TRO
10    Application be premised on her claim under RESPA, “because injunctive relief is not
11    available under RESPA.” Anderson v. Cent. Mortg. Co., No. 13-CV-3180-MMA (DHB),
12    2014 WL 12496550, at *3 (S.D. Cal. Jan. 15, 2014) (quoting Rivera v. BAC Home Loans
13    Servicing, L.P., No. C10-02429 RS, 2010 WL 2757041, at *4–5 (N.D. Cal. Jul. 9, 2010),
14    where the court concluded that RESPA claims could not stop a foreclosure because RESPA
15    did not have as a remedy injunctive relief).
16          Accordingly, the Court finds Plaintiff has failed to demonstrate a likelihood of
17    success or raise serious questions going to the merits. And “in the absence of a likelihood
18    of success on the merits, loss of property alone is not sufficient to obtain a TRO.” Michener
19    v. Wells Fargo Home Mortg., No. C 12–2003 PJH, 2012 WL 3027538, at *4 (N.D. Cal.
20    July 24, 2012).
21          Moreover, the Court finds that the balance of hardships tips in Defendant’s favor, as
22    the evidence suggests Plaintiff has not made a payment in over a year and has instead
23    engaged in various activities to avoid this obligation, such as submitting a check that was
24    determined to be fraudulent. See Sassine Decl. ¶¶ 27–33. Given such circumstances,
25    granting an injunction at this stage of the foreclosure proceedings on the basis of Plaintiff’s
26    current allegations would impose inequitable costs and unjustified delay on Defendant. See
27    Wilson v. Wells Fargo Bank, No. C 11-03394 CRB, 2011 WL 3443635, at *3 (N.D. Cal.
28    Aug. 5, 2011) (“[E]quity does not favor allowing Plaintiffs to avoid foreclosure having

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 1    ceased making payments of any kind to anyone.”); Herrejon v. Ocwen Loan Servicing,
 2    LLC, 980 F. Supp. 2d 1186, 1210 (E.D. Cal. 2013) (“[T]he balance of equities weighs in
 3    defendants’ favor as the record suggests that plaintiffs may have unauthorized access to the
 4    property without payment of outstanding amounts owed and seek to delay foreclosure to
 5    extend their possession of the property.”); Haffeman v. Wells Fargo Bank, N.A.,
 6    No. 12CV00046 BTM WVG, 2012 WL 827034, at *5 (S.D. Cal. Mar. 9, 2012)
 7    (“Defendant . . . has not collected mortgage payments on the Property for over a year and
 8    a half. Thus, the balance of the equities does not tip sharply in favor of Plaintiffs.”).
 9          Finally, “[w]ithout a likelihood of success on the merits and with the equities
10    balanced against [Plaintiff], issuing a preliminary injunction to stop the foreclosure goes
11    against the public interest of affording relief to those deserving security on a defaulted
12    loan.” Wilson, 2011 WL 3443635, at *3.
13          In sum, as Plaintiff has failed to demonstrate a likelihood of success on the merits
14    and the equities and public interest are balanced against her, the Court finds she has failed
15    to satisfy either of the tests necessary for the issuance of a TRO in the Ninth Circuit. For
16    this reason, the Court DENIES Plaintiff’s TRO Application (ECF No. 3). Consequently,
17    the previously ordered administrative stay pending briefing by the Parties (ECF No. 6) is
18    LIFTED.
19          The Court notes Plaintiff asserts in her Supplemental Declaration, that “the
20    foreclosure sale of [her] property has been rescheduled for April 30, 2025,” and she
21    requests “the Court grant the Temporary Restraining Order or issue an immediate
22    administrative stay of any foreclosure activity until a ruling on the TRO is issued.” Suppl.
23    Gallusz Decl. ¶¶ 2, 6. However, in light of the foregoing, Plaintiff’s request is DENIED
24    AS MOOT.
25          IT IS SO ORDERED.
26    Dated: April 22, 2025
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